      Case 1-19-44444-nhl            Doc 281       Filed 08/10/22   Entered 08/11/22 08:26:49




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
In re:                                                        Chapter 11

4218 Partners LLC,                                            Case No. 19-44444-NHL

                                    Debtor.
-------------------------------------------------------X

             ORDER GRANTING APPLICATION FOR ALLOWANCE OF FINAL
          COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
                EXPENSES INCURRED AS COUNSEL TO THE DEBTOR

         Upon consideration of the Application of Law Offices of Isaac Nutovic, as Counsel for 4218

Partners LLC for Allowance Of Compensation for Professional Services Rendered From July 21,

2019 through May 20, 2022 [ECF No. 243], as voluntarily reduced per Letter dated July 18, 2022

[ECF No. 262], and in accordance with the Stipulation and Order by and Between the Debtor and

Maguire Ft. Hamilton LLC Resolving Objections to Fee Application, issued on August 8, 2022

[ECF No. 280] (the “Nutovic Fee Application”); and upon the record of the hearing held virtually

via Zoom platform on July 19, 2022, the transcript of which is incorporated herein by reference;

and no objections having been filed; and due and sufficient notice having been given; and after due

deliberation thereon and good and sufficient cause having been shown therefor; now, therefore, it is

hereby

         ORDERED, pursuant to 11 U.S.C. § 330(a), that the Nutovic Fee Application is granted to

the extent set forth in Schedule A annexed hereto.




                                                                    ____________________________
 Dated: August 10, 2022                                                  Nancy Hershey Lord
        Brooklyn, New York                                          United States Bankruptcy Judge
                                  Case 1-19-44444-nhl         Doc 281    Filed 08/10/22   Entered 08/11/22 08:26:49




Case No.:   19-44444(nhl)
                                                             FINAL FEE APPLICATION TOTALS                                  Schedule A
Case Name: 4218 Partners LLC                            July 21, 2019 to May 20, 2022

              (1)                               (2)                        (3)                       (4)                                 (5)
            Applicant                  Total Fees Requested        Total Fees Allowed     Total Expenses Requested             Total Expenses Allowed

   Law Offices of Isaac Nutovic             $175,566




                                     Retainer application        Retainer application
                                     $25,556                           $25,556



                                            $150,000                    $150,000                $1,120.40                           $1,120.40




                                      DATE ON WHICH ORDER WAS SIGNED: 8/10/2022                           INITIALS: NHL USBJ
